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                          UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF SOUTH CAROLINA
                              CHARLESTON DIVISION

City of Beaufort, City of Charleston, City of    )
Folly Beach, City of Isle of Palms, City of      )           No.: 2:18-cv-03326-RMG
North Myrtle Beach, South Carolina Small         )     (Consolidated with 2:18-cv-3327-RMG)
Business Chamber of Commerce, Town of            )
Bluffton, Town of Briarcliffe Acres, Town of     )         NOTICE OF REQUEST FOR
Edisto Beach, Town of Hilton Head Island,        )        PROTECTION FROM COURT
Town of James Island, Town of Kiawah             )              APPEARANCE
Island, Town of Mount Pleasant, Town of          )
Pawley’s Island, Town of Port Royal, Town        )
of Seabrook Island, Town of Awendaw,             )
                                                 )
                   Plaintiffs,                   )
                                                 )
and                                              )
                                                 )
                                                 )
State of South Carolina, ex rel Alan Wilson,
                                                 )
Attorney General,
                                                 )
                                                 )
                   Intervenor
                                                 )
                                                 )
v.                                               )
                                                 )
NATIONAL MARINE FISHERIES                        )
SERVICE, CHRIS OLIVER, in his official
capacity as the Assistant Administrator for
Fisheries, and WILBER ROSS, in his official
capacity as the Secretary of
Commerce,

                   Defendants.



       J. Emory Smith, Jr., Deputy Solicitor General, respectfully requests protection from

attendance at any hearing or other court appearances in this case on the four dates below for the

reasons noted. Because he is one of the lead attorneys for the State ex rel Wilson in this case, he

respectfully requests that any proceedings be held on different days.
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              March 19, 2019 – hearing in York, South Carolina

              April 26, 2019 – long planned travel

              May 14, 2019 – hearing in York

              May 17, 2019 – long planned travel

Counsel respectfully requests that proceedings not be scheduled on those days.

                                                     Respectfully submitted,


                                                     ALAN WILSON
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February 22, 2019                                    Counsel for the State ex rel Wilson




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